Case 1:18-cr-00204-NGG-VMS Document 872-1 Filed 05/13/20 Page 1 of 4 PageID #: 13726




                               EXHIBIT A
Case 1:18-cr-00204-NGG-VMS Document 872-1 Filed 05/13/20 Page 2 of 4 PageID #: 13727



   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
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   IN RE:                                                                 ADMINISTRATIVE ORDER
   CORONAVIRUS/COVID-19 PANDEMIC                                                NO. 2020-13
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   USE OF VIDEOCONFERENCING OR TELEPHONE
   CONFERENCING IN CRIMINAL MATTERS

   -------------------------------------------------------------------X
   ROSLYNN R. MAUSKOPF, Chief Judge.

           On March 13, 2020, the President of the United States issued a proclamation declaring a
    National Emergency in response to the Coronavirus Disease-2019 (“COVID-19") pandemic
    pursuant to the National Emergencies Act (50 U.S.C. § 1601, et seq.). In addition, the Governor
    of New York has banned mass gatherings in the state, encouraged persons in the state to remain
    at home and to limit personal contact, and ordered the closure of non-essential businesses,
    among other steps taken to prevent the spread of COVID-19.

            The COVID-19 pandemic has had and will continue to have an extraordinary impact on
    this district. As of the date of this order, over 33,000 – in excess of 50% -- of the more than
    59,000 confirmed cases of COVID-19 in New York State are in the boroughs of New York City
    and counties of Long Island that comprise the Eastern District of New York. These cases
    account for approximately 25% of the total number of confirmed cases nationwide to date.
    Estimates by health authorities indicate that the incidence of infection is likely greater among
    the community than the number of cases confirmed, and is expected to grow significantly. The
    current and continuing public health crisis has and will continue to cause significant disruption
    throughout this district, including but not limited to, restrictions on travel; significant reductions
    in mass transit and concerns about its safe use; the closure of offices, schools, and other public
    and private institutions and facilities; displacement of district residents; restrictions on the
    movement of defendants to and from detention facilities; and the reduction or suspension of
    certain court operations because of the inability of court staff, attorneys, and others to appear at
    our courthouses, and in order to limit in-person contact and prevent the spread of COVID-19.
    As a result of these and other considerations, judges of this court have conducted and will need
    to continue to conduct proceedings remotely, using video and telephone conferencing, in both
    criminal and civil matters.

           On March 27, 2020, Congress passed the Coronavirus Aid, Relief, and Economic
    Security Act (“CARES Act”), which authorized the Judicial Conference of the United States to
    provide authority to Chief District Judges to permit the conduct of certain criminal proceedings
    by video or audio conference. The President signed the CARES Act into law on March 27,
    2020.
Case 1:18-cr-00204-NGG-VMS Document 872-1 Filed 05/13/20 Page 3 of 4 PageID #: 13728



           On March 29, 2020, the Judicial Conference of the United States made the appropriate
   findings as required under the CARES Act, finding specifically that “emergency conditions due
   to the national emergency declared by the President under the National Emergencies Act (50
   U.S.C. § 1601, et seq.) with respect to the Coronavirus Disease 2019 (COVID-19) have
   materially affected and will materially affect the functioning of the federal courts generally.”

          Thus, acting pursuant to § 15002(b) of the CARES Act and the authority granted by
   the Judicial Conference of the United States, I make the following findings and order:

            1.      I find that emergency conditions due to the COVID-19 virus outbreak will
   materially affect the functioning of the courts within this judicial district. Thus, pursuant to the
   authority granted under § 15002(b)(1) of the CARES Act, I hereby authorize judges in this
   district, with the consent of the defendant or the juvenile after consultation with counsel, to use
   video conferencing, or telephone conferencing if video conferencing is not reasonably available
   for use, for the following events:

          (A)     Detention hearings under section 3142 of title 18, United States Code.

          (B)     Initial appearances under Rule 5 of the Federal Rules of Criminal
                  Procedure.

          (C)     Preliminary hearings under Rule 5.1 of the Federal Rules of Criminal Procedure.

          (D)     Waivers of indictment under Rule 7(b) of the Federal Rules of Criminal
                  Procedure.

          (E)     Arraignments under Rule 10 of the Federal Rules of Criminal
                  Procedure.

          (F)     Probation and supervised release revocation proceedings under Rule
                  32.1 of the Federal Rules of Criminal Procedure.

          (G)     Pretrial release revocation proceedings under section 3148 of title 18, United
                  States Code.

          (H)     Appearances under Rule 40 of the Federal Rules of Criminal
                  Procedure.

          (I)     Misdemeanor pleas and sentencings as described in Rule 43(b)(2) of the
                  Federal Rules of Criminal Procedure.

          (J)     Proceedings under chapter 403 of title 18, United States Code (commonly known
                  as the "Federal Juvenile Delinquency Act"), except for contested transfer hearings
                  and juvenile delinquency adjudication or trial proceedings.
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Case 1:18-cr-00204-NGG-VMS Document 872-1 Filed 05/13/20 Page 4 of 4 PageID #: 13729




           2.       Pursuant to § 15002(b)(2) of the CARES Act, I further specifically find that
    felony pleas under Rule 11 of the Federal Rules of Criminal Procedure and felony sentencings
    under Rule 32 of the Federal Rules of Criminal Procedure cannot be conducted in person
    without seriously jeopardizing public health and safety. As a result, if judges in individual cases
    find, for specific reasons, that felony pleas or sentencings in those cases cannot be further
    delayed without serious harm to the interests of justice, judges may, with the consent of the
    defendant or the juvenile after consultation with counsel, conduct those proceedings by video
    conference, or by telephone conference if video conferencing is not reasonably available. This
    authority extends to equivalent plea, sentencing or disposition proceedings under 18 U.S.C. 403
    (commonly referred to as the “Federal Juvenile Delinquency Act.”).

           3.        This authorization is effective for ninety (90) days unless earlier terminated. If
   the emergency persists longer than ninety (90) days, I will review this authorization and
   determine whether to extend it pursuant to the provisions of the CARES Act. Notwithstanding
   the foregoing, pursuant to the provisions of the CARES Act, this authority shall terminate on
   the last day of the covered emergency period or the date on which the Judicial Conference of
   the United States finds that emergency conditions due to the national emergency declared by the
   President under the National Emergencies Act with respect to the COVID-19 virus outbreak no
   longer materially affect the functioning of either the Federal courts generally or the courts
   within this district.

                                                          SO ORDERED.

                                                                  /S
   Dated: Brooklyn, New York                              __________________________________
          March 30, 2020                                  ROSLYNN R. MAUSKOPF
                                                          Chief Judge




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